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                      IN THE THIRD JUDICIAL DISTRICT COURT

                 IN AND FOR SALT LAKE COUNTY, STATE OF UTAH



 JARED PLUMB,

                       Plaintiff,
                                                                Civil No.
 vs.
                                                                 JUDGE
 UNIVERSITY OF UTAH; and ROSS
 WHITAKER, an individual; and John Does
                                                          JURY DEMANDED
 1-10 .

                      Defendants.




       The Plaintiff Jared Plumb alleges against the Defendants the University of Utah, Ross

Whitaker and Feifei Li as follows:


                                    I. JURISDICTION AND PARTIES
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       1. This is an action under 42 U.S.C. section 1983 for deprivation of the Plaintiff’s rights

under the First and Fourteenth Amendments of the Constitution, for deprivation of procedural

and substantive rights of due process, and for breach of contract.


       2.       The University of Utah (hereafter “U of U”) is an educational body corporate of

the State of Utah operating in Salt Lake County, State of Utah.


       3.       Ross Whitaker is an individual residing in Salt Lake County.


       4.       John Does 1-10 are individuals who conspired with the named Defendants to

deprive him of his substantive and procedural Due Process and Equal Protection rights.


                                                II. FACTS


       5.       Mr. Plumb was admitted to the computing/data management and analysis Ph.D.

program at the University of Utah in 2013.


       6.       Mr. Plumb chose his initial adviser for his advisor program, Feifei Li, and selected

Mark Van Langeveld to be part of his initial committee to work with him to earn a Ph.D. degree.


       7.       As an initial advisor Mr. Li should have helped Mr. Plumb to choose courses and

navigate the Ph.D. program.


       8.       However, Mr. Li did not provide any guidance for Mr. Plumb and told him to just

take classes.


       9.       Mr. Plumb did his best to follow Mr. Li’s advice and completed the specified

program requirements.
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       10.     As part of the contract with the Plaintiff, the University of Utah published a

Graduate Handbook Catalog with program requirements that stated that up to 20 course credit

hours from prior courses could be applied to the Ph.D. program.


       11.     Mr. Plumb relied upon these representations and statements to choose the

University of Utah for his Ph.D. program and to plot his course of classes he would take to

achieve that purpose.


       12.     In the fall of 2014 Mr. Li took a sabbatical leave and failed to notify Mr. Plumb.

In fact, no one in the program notified Mr. Plumb. In fact no one in the Ph.D. program even

notified Mr. Plumb of Mr. Li’s absence. Without an advisor Mr. Plumb did not know how to

proceed with the program and reported a complete lack of guidance to the program chair. As a

result, Mr. Plumb changed his Ph.D. to a computer science Ph.D. in the summer of 2015 and

switched his class advisor to Sneha Kasera, who was the director of graduate studies at the

school of computing at the University of Utah that time.


       13.      In 2015 and 2016 Mr. Plumb progressed with respect to his course requirements

and selected subjects for research papers. In addition by the spring of 2017 (within five semesters

of starting his Computer Science Ph.D. Mr. Plumb had chosen his Ph.D. committee. The

committee members were Mr. Kasera, Ryan Stutsman and Robert Ricci. The external committee

members were Mark Van Langeveld and the director of the school of computing entertainment

arts and game studio program and Magda El Zarki, the director of the Institute for Virtual

Environments and Computer Games and Co-founder of the Computer Science Program at UC

Irvine. Notably, Mr. El Zarke supervised many Ph.D students over her career.
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       14.     As of spring 2017, Mr. Plumb had finished his course requirements maintaining a

3.8 GPA in his course work. Additionally, Mr. Plumb’s papers were accepted to be published.

One of these papers, “Google’s Edge Network for Massively Multi-player Online Games”, was

scheduled for publication in May 2018. The other paper, “Hybrid Network Clusters Using Game

Play for Massively Multi-player Online Games”, was scheduled for publication in August 2018.


       15.     Mr. Li returned from sabbatical in 2016 and became the School of Computing

Director for Graduate Studies.


       16.     Without notifying Mr. Plumb in any way in the Fall of 2016, Mr. Li met with

faculty members and reviewed Mr. Plumb’s progress in the program. The faculty committee

considered Mr. Plumb’s time when he first started in the School of Computing Program in 2013

rather than his progress from the time he started in Computer Sciences Ph.D in 2015 and as a

result faculty members expressed concern about Mr. Plumb’s progress and voted to remove him

from the program. There was an additional secret meeting in the Fall of 2017 at which faculty

voted to remove Mr. Plumb from the Ph.D program. However, no one from these secret

discussions informed Mr. Plumb of these concerns or the votes during the Fall 2016 and again in

2017. Those who participated in these meetings conspired against Mr. Plumb to violate his

fundamental Due Process rights in his education.


       17. From this point on the faculty members in the School of Computing continued to

collude to deprive Mr. Plumb of his constitutional contractual rights by refusing to provide to

him essential information, making arbitrary and capricious decisions to refuse credit to him and

refusing to provide any process to review their arbitrary decisions.
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       18.      In February of 2018 Mr. Li met with Mr. Plumb about his progress in the Ph.D

program. Mr. Li finally told Mr. Plumb about the faculty committee Vote. Mr. Li was very

critical of Mr. Plumb because he had not yet published. When Mr. Plumb informed Mr. Li that

two of his articles had already been approved for publication, Mr. Li ignored the value of the

articles and refused to discuss them with Mr. Plumb or to address issues of further progress of the

program. However, Mr. Li gave Mr. Plumb additional time to show that he was making progress

in the program. Thereafter Mr. Plumb asked his committee about Mr. Li’s concerns and Mr.

Plumb responded that he wanted concrete dates and specific requirements for his final program

requirements.


       19. The committee therefore established dates to complete two of Mr. Plumb’s final

requirements: (1) the written qualifier was scheduled for April 2018; and (2) the oral qualifier for

the Dissertation Proposal was scheduled for May 2018.


       20.      On 10 May 2018 Mr. Plumb was informed that the committee would only allow

two EAE courses or six (6) hours of Mr. Plumb’s prior course work to count toward his Ph.D

program instead of the 20 hours stated in the Catalog that had been provided to him at the time

her entered the program.


       21.      On 10 May 2018 Mr. Jacobus (Kobus) Vandermere notified Mr. Plumb that: “We

will allow no more than two EAE courses to be applied to your program of study. The EAE

courses cannot be used to substitute any of the three required course i.e., CS6150 (Advanced

Algorithms), CS64606 (Operating Systems), CS6810 (Computer Architecture).”
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       22.    The communication from Mr. Vandermere was the first time that anyone in the

program, after five years, had notified Mr. Plumb that the 20 hours of course work that had

previously been relied upon to meet the requirements of his Ph.D program, would not be allowed

and that he would have to take all of these courses or take other courses that would count

towards his Ph.D program. The change in the contractual agreement stated in the Catalog

published and promoted by the University of Utah and the Computer Science faculty and relied

upon in all prior conversations about Mr. Plumb’s progress in the Program represented over 18

hours and $40,000.00 in costs to complete the program. In addition, it would take an additional

year to complete the program. However, without finishing the Ph.D Mr. Plumb’s future salary

and employment prospects were severely diminished.


       23.    Mr. Plumb pushed back on the decision to disallow the prior credit because it

represented a major change in his entire program and modified the entire course of dealing

between the parties and his reliance on all communications that occurred between him and the

University of Utah Computer Science in the School of Computing.


       24.    On 14 May 2018 Ross Whitaker notified Mr. Plumb that he was being dismissed

from the program and that the decision to dismiss him had been made “this past November” and

that the faculty had voted that he should be removed from the Ph.D program due to lack of

progress and inability to meet the new progress requirements of the school. Further, Mr.

Whitaker falsely claimed that the removal was consistent with the school’s policy described in

the Graduate Handbook.
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       25.     Mr. Whitaker’s statement to Mr. Plumb that the decision to remove him from the

program could not be appealed was false and contrary to University of Utah Policy and the

Graduate Handbook.


       26.      In response, Mr. Plumb requested an appeal of the decision. The appeal was

denied by Mr. Whitaker who inaccurately stated that there was no right of appeal.


       27.     Mr. Plumb, through legal counsel, demanded immediate reinstatement into the

Computer Science Ph.D program with all courses considered completed and the ability to take

the written qualifier within one semester after being readmitted on 27 November 2018.


       28.     For eight months Mr. Plumb continued to request an appeal and the members of

the faculty continued to state that he was not entitled to an appeal and that the decision was final.


       29.     Mr. Plumb had several communications with Ross Whitaker and other members

of the Computer Science Faculty exploring exactly why he had been removed from the Ph.D

program. Mr. Whitaker responded that he did not have to explain anything and that the decision

was final.


       30.     The matter was referred to Barbara W. Payne the Associate General Counsel of

the University of Utah to review to determine what action would be taken with respect to a

demand to an appeal through Mr. Plumb’s legal counsel


       31.     On 17 July 2019, more than a year after his dismissal from the program, counsel

from the University of Utah stated for the first time to Mr. Plumb’s legal counsel that the
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Computer Science Department would not object to an appeal to the College Academic Appeals

Committee.


       32.      On 11 November 2019 after months of negotiations, Mr. Plumb notified legal

counsel for the University of Utah that he was demanding an appeal.          The appeal was not

contested by the School of Computer Science and was set before the College of Engineering

Review Panel.


       33.      Mr. Plumb filed his appeal of the dismissal and additional issues on 13 November

2019, a true and correct copy is attached hereto as Exhibit “A.”


       34. On 15 November 2019 Ross Whitaker Director of the School of Computing

responded to Mr. Plumb’s appeal.


       35.      On 6 December 2019 Mr. Plumb was notified that the panel members would be

Ramesh Goel, Ross Walker, Candice Floyd, Kaai Kauwe and Sid Agrawal. The hearing was

scheduled for 7 January 2020.


       36. On 30 December 2019 Mr. Plumb received Ross Whitaker’s documents and witness

list. The disclosure document failed to identify all documents that were admitted for

consideration at the hearing.


       37.      On 5 February 2020 the College of Engineering Academic Appeals Committee

rendered its decision. Mr. Plumb’s appeal was granted with respect to his request to reinstate him

into the Ph.D program and denied as to the remaining issues. The Appeals Committee found that
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Mr. Plumb had not made adequate progress but that there were not sufficient prior notices that he

was not making adequate progress and therefore reinstatement was required.


       38. The decision of the Appeal Committee was arbitrary, capricious and violated Mr.

Plumb’s procedural due process and substantive due process rights.


       39 On 5 February 2020, Kevin Whitty, Associate Dean for Research of the College of

Engineering, accepted the decision of the Appeals Committee. Mr. Plumb was accepted into the

Ph.D on probation.


       40. Immediately Mr. Plumb noted that the Appeals Committee Decision simply reinstated

him into the program with the finding that he had not made adequate progress but that the School

of Computer Science had failed to give any direction or guidance as to how the lack of progress

could be corrected or what was required of him after being reinstated into the program. Indeed,

the sole purpose of the decision was to correct the lack of notice by setting Mr. Plumb up so that

once he was reinstated into the program, the notices of his lack of progress could then be given

and Mr. Plumb would once again be dismissed from the program. The decision and stance of the

College of Engineering was this merely a façade and fraud to once again require Mr. Plumb to

spend funds for tuition, take courses and then give him notice that he lacked the required

progress toward his degree so that he could be terminated from the program.


       41. During the appeal hearing, Ross Whitaker had asserted the position that the Graduate

Handbook that stated required courses to achieve the Ph.D degree is not a contract, can be

ignored and that he did not intend to follow it. This position left Mr. Plumb with no guidance as

to what was expected and the College of Engineering would be allowed to arbitrarily and
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capriciously change its requirements and impose new requirements at its whim once he was

reinstated.


       42. Mr. Plumb was left with no path to completion of the Ph.D program.


       43. On 12 February 2020, Mr. Plumb communicated these concerns to the College of

Engineering and proposed a clear plan for completion of his Ph.D program.


       44. On 13 February 2020, Mr. Whitty informed Mr. Plumb that he was accepted back into

the School of Computing Ph.D program “with the same status as when you had been dismissed.”

He asked Mr. Plumb to meet with Mr. Stutsman and the graduate advisor in the School of

Computing to review degree requirement, identify what remained to be completed, and to

establish a plan and schedule to complete the degree.


       45. On 18 February 2020 Ross Whitaker communicated to Mr. Plumb that the College of

Engineering would accept Mr. Plumb as “enrolled” in the Ph.D. program for Computer Science

within the School of Computing. However, he restated that the finding that Mr. Plumb had not

made adequate progress and that the Computer Science department intended to continue “to

enforce its due progress requirements with proper notice and communication.” Essentially

Whitaker informed Mr. Plumb that the reinstatement was a façade so that notice of lack of

progress could be properly given this time and then Mr. Plumb would be dismissed from the

program again. The Computer Science Program, though Ross Whitaker, acted in extreme bad

faith and in breach of contract and of Mr. Plumb’s rights to procedural and substantive Due

Process guaranteed under the Fourteenth Amendment to the United States Constitution and the

Constitution of the State of Utah.
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        45. On 19 February 2020 Mr. Whitty informed Mr. Plumb of the requirements to

complete his Ph.D program that supposedly “were the same as when you were dismissed.” He

was directed to review the School of Computing Graduate Handbook for details. He was also

directed to read the Graduate School webpage in its entirely.


        46. On 20 February 2020 Mr. Plumb appealed those parts of the decision that were not

found in his favor to the Cognizant Senior Vice President, Dan Reed.


        47. On 20 February 2020 Mr. Whitaker notified Sr. V.P. Daniel Reed that it desired to

appeal the decision to reinstate Mr. Plumb into the College of Engineering computer science

Ph.D program.


        47. On 4 May 2020 Mr. Plumb requested clarifications as to what was expected of him

to complete the program. He noted that it appeared he was merely being set up for failure and to

once again be terminated from the program. He asked for clarification as to what courses would

be required and what credit would be given for prior courses.


        48. Later on 4 May 2020 Ross Whitaker blew off Mr. Plumb’s concerns by refusing to

provide any further clarification: “We have been through this on many occasions. You are

expected to meet the requirements of the program. I am not going to repeat what is in the letter

[written 19 February 2020 by Kevin J. Whittey] or in the handbook. Propose a program of

student (sic) of a student that is consistent with what is in the letter.”
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         49. Later on 4 May 2020, Mr. Plumb responded with a detailed summary of a proposal

for classes for which he would receive credit, the courses he would need to complete and the

members of his committee.


         50. Whitaker refused to give any clarification as to what need to be completed to

complete the program. He responded later on 4 May 2020 by stating that: “the program of study

won’t be accepted. The letter makes it clear – the School is no longer negotiating on this point.

Complete your classes, finish your degree. Otherwise you will be out of compliance with our due

progress requirements, and you will be removed from the program. I think this conversation is

done.”


         51. Later on 4 May 2020 Mr. Plumb responded: “I am not asking unreasonable questions.

The letter is not clear, and I am trying to get clarification. . . . You are the one out of compliance

by not following the catalog and University policy. Stop threatening to remove me from the

program every time I ask a simple question…. Please provide feedback about the structure of my

committee as outlined in these emails.”


         52. Whitaker did not respond. On 7 May 2020 Mr. Plumb once again emailed him stating:

“It has been days and I have not heard back yet answers to all my questions. These answers are

important because I need to get my committee approved and new approved program of study

with this committee before I can continue. Currently I have no idea what I am supposed to take

this next school year.”
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        53. On 7 May 2020 Whitaker emailed back and asserted that the letter was clear and no

further information would be provided. “Take your classes, do your research, graduate – stop the

nonsense.”


        54. Whitaker and the School of Computer Science acted in bad faith because the 19

February 2020 letter that Whitaker insisted contained all of the needed information did not state

which courses needed to be taken, what credit would be given for prior courses, who members of

the Ph.D committee would be and what the requirements for finishing the Ph.D program would

be. Mr. Plumb was simply being set up to be terminated from the program again.


                                            Count I
                     42 USC § 1983 – Fourteenth Amendment Due Process
                                     (vs. all Defendants)

55.     Plaintiff repeats and realleges Paragraphs 1 through 54 set forth above with the same

force and effect as though set forth in full herein.


56.     As a student at a public university, Plaintiff enjoyed a constitutionally protected

fundamental right and interest in continuing his Ph.D program at the University of Utah.


57.     As a student at a public university, Plaintiff enjoyed a constitutionally protected property

interest in continuing his computer science school education.


58.     Plaintiff’s reputation and his opportunity to pursue future employment constitute a

constitutionally protected liberty interest.
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59.    Defendants’ dismissal of Plaintiff from Defendant University of Utah’s School of

Computer Science and the reinstatement back into the program just to give notices to once again

terminate his program were arbitrary and capricious and motivated by bad faith.


60.    Plaintiff was not afforded an unbiased, careful, and deliberate review process either prior

to or following his dismissal from and reinstatement into Defendant University of Utah’s School

of Computer Science.


61.    Defendants made false charges and accusations against Plaintiff that stigmatized him and

severely damaged his opportunities for future employment.


62.    Plaintiff was denied a meaningful opportunity to complete the program.


63.    In depriving Plaintiff of his constitutionally protected rights, including his fundamental

right to and property interest in continuing his public university education, and his liberty interest

in his reputation and opportunity to pursue future employment, Defendants’ actions abridge his

right to procedural and substantive due process of law in violation of the Fourteenth Amendment

to the United State Constitution under 42 U.S.C. section 1983.


64.    The Individual Defendant and other agents, representatives and employees of Defendant

University acting under color of state law and in concert with one another, acted out of

vindictiveness and ill will towards Plaintiff.


65.    The acts of Defendant Whitaker and other agents, representatives, and employees of

Defendant University of Utah as described above represent official policy of Defendant

University of Utah and are attributable to Defendant University of Utah.
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66.    At all times material hereto. Plaintiff had a clearly established right to due process of law

of which a reasonable public official would have known.


67.    As a direct and proximate result, Plaintiff has suffered irreparable harm, injury, and

damages, including but not limited to, monetary damages, loss of career opportunities and

earning capacity, mental and emotional distress, anxiety and mental anguish, humiliation and

embarrassment; and loss of personal and professional reputation.


                                          COUNT II
                             Breach of Contract or Implied Contract
                               (vs. Defendant University of Utah)

68.    Plaintiff repeats and realleges Paragraphs 1 through 69 set forth above with the same

force and effect as through set forth in full herein.


69.    Plaintiff had an express contract and/or implied contract with the University of Utah.


70.    Defendant failure and refusal to abide by the terms of that contract or implied contract

constituted a breach of that contract.


71.    As a direct proximate result, Plaintiff has suffered irreparable harm, injury, and damages,

including but not limited to, monetary damages, loss of career opportunities and earning capacity

foreseeable at the time of entering into the contract, mental and emotional distress, anxiety and

mental anguish, humiliation and embarrassment; and loss of personal and professional reputation

in an amount to be proven at trial.


                                             COUNT III

                      Breach of Covenant of Good Faith and Fair Dealing
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                                (vs. Defendant University of Utah)

72.    Plaintiff repeats and realleges Paragraphs 1 through 71 set forth above with the same

force and effect as through set forth in full herein.


73.    The Defendant University of Utah owed the Plaintiff owed a duty of good faith and fair

dealing under its contract with Plaintiff.


74.    The Defendant University of Utah breached the covenant of good faith and fair dealing

by intentionally working to defeat his expectations under the contract and adopting a course of

bad faith dealing to terminate the Plaintiff once reinstated into the Ph.D program.


75.    As a direct and consequential result of the breach of the covenant of good faith and fair

dealing the Plaintiff has suffered damages and irreparable harm, injury, and damages, including

but not limited to, monetary damages, loss of career opportunities and earning capacity

foreseeable at the time of entering into the contract, mental and emotional distress, anxiety and

mental anguish, humiliation and embarrassment; and loss of personal and professional reputation

in an amount to be proven at trial.


                                              PRAYER


       THEREFORE, the Plaintiff demands judgment in his favor and against the Defendants

for a declaration that the Defendants have violated his substantive and procedural Due Process

rights, for compensatory and contract damages in an amount to be proven at trial, for

consequential damages, and for attorneys fees and costs.


                                               DATED THIS 7th DAY OF JULY 2020.
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                                 OSTLER LEGAL ADVOCATES

                                 \s\    Blake T. Ostler

                                 Blake T. Ostler
